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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

JUAN NIKOLAS NAVA,                                  §
    Plaintiff,                                      §
                                                    §
VS.                                                 §          Civil Action No. 3:21-cv-00274
                                                    §
KNIGHT TRANSPORTATION, D/B/A                        §
KNIGHT TRANSPORTATION                               §
TEXAS INC. D/B/A KNIGHT                             §
TRANSPORTATION TEXAS, INC.                          §
AND DOLLAR TREE STORES, INC.,                       §
     Defendants.                                    §

                          DEFENDANT’S NOTICE OF REMOVAL

          Defendant Knight Transportation, Inc. (“Knight” or “Defendant”) files this

Notice of Removal pursuant to 28 U.S.C. §§ 1441 and 1446, and respectfully shows:

                                 Commencement and Service

          1.      On August 31, 2021, Juan Nikolas Nava (“Plaintiff”) commenced this

action by filing an Original Petition in the 120th District Court of El Paso County,

Texas. The case is styled Cause No. 2021-DCV-3057; Juan Nikolas Nava v. Knight

Transportation, Inc. d/b/a Knight Transportation Texas, Inc. and Dollar Tree

Stores, Inc. (“State Court Action”). 1 Plaintiff seeks monetary relief over $250,000. 2

          2.      Plaintiff requested citations for service on or around September 8,

2021. 3        After diligent inquiry, Knight has seen no evidence that Plaintiff has

formally served any Defendants as of the date of this Notice of Removal.



1         See Exhibit C, Plaintiff’s Original Petition.
2         Id.
3         See Exhibit D, Requests for Citations for Service.
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       3.      Out of an abundance of caution, Knight timely answered in state court

on October 29, 2021. 4

       4.      This Notice of Removal is filed before Knight’s receipt of service of

process and is therefore considered timely pursuant to 28 U.S.C. § 1446(b). This

Notice of Removal is also filed within one year of the commencement of this action

and is thus timely pursuant to 28 U.S.C. § 1446(c).

                                  Grounds for Removal

       5.      Defendant is entitled to remove the state court action to this Court

pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 because this action is a civil action

involving an amount in controversy exceeding $75,000.00 between parties with

diverse citizenship.

                                 Diversity of Citizenship

       6.      There is complete diversity of citizenship between Plaintiff and

Defendants.

       7.      Plaintiff is a citizen of Texas. 5

       8.      Defendant Knight Transportation, Inc. is not a citizen of Texas. Knight

is an Arizona corporation with its principal place of business in Phoenix, Arizona. In

determining whether there is diversity jurisdiction, a corporation that is a party is




4       See Exhibit E, Defendant’s Motion to Transfer Venue and, Subject Thereto, Original Answer
and Affirmative Defenses.
5       See Exhibit C, Plaintiff’s Original Petition at 1.


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considered to be a citizen of both its state of incorporation and its principal place of

business. 6 Therefore, Defendant is a citizen of Arizona.

       9.       Defendant Dollar Tree Stores, Inc. is not a citizen of Texas. Defendant

Dollar Tree Stores, Inc. is a Virginia corporation with its principal place of business,

in Chesapeake, Virginia. In determining whether there is diversity jurisdiction, a

corporation that is a party is considered to be a citizen of both its state of

incorporation and its principal place of business. 7 Therefore, Defendant Dollar Tree

Stores, Inc. is a citizen of Virginia.

                                   Amount in Controversy

       10.      This is a personal injury case with over $75,000 in controversy at the

time of this removal. Per Plaintiff’s Petition, pursuant to Rule 47 of the Texas Rules

of Civil Procedure, Plaintiff seeks monetary relief in an amount over $250,000. 8

                                               Venue

       11.      Venue currently lies in the Western District of Texas, El Paso Division,

pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) because Plaintiff filed the action in

this judicial district and division. However, as shown by the Motion to Transfer

Venue filed in the State Court Action, 9 the appropriate venue for this suit is the

Eastern District of Texas, Denton Division, Texas, a judicial district in which a

substantial part of the events or omissions giving rise to the claim occurred. Knight

reserves the right to timely request that this Court transfer venue to the Eastern

6      See, 28 U.S.C § 1332(c)(1); see also, Hertz Corp. v. Friend, 559 U.S. 77, 130 S. Ct. 1181, 1185-
86 (2010).
7      Id.
8      See Exhibit C, Plaintiffs’ Original Petition at 6.
9      Incorporated herein by reference and attached as Exhibit E.


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District, Denton Division, Texas.

                                         Notice

      12.      Defendant will give notice of the filing of this Notice of Removal to all

parties of record pursuant to 28 U.S.C. § 1446(d). Defendant will also file with the

clerk of the state court and will serve upon Plaintiff’s counsel, a notice of the filing

of this Notice of Removal.

                           Exhibits to Notice of Removal

      13.      In support of this Notice of Removal and pursuant to 28 U.S.C.

§1446(a), true and correct copies of the following documents are attached to this

Notice as corresponding lettered exhibits:

      A. Index of documents filed in Cause No. 2021-DCV-3057; Juan Nikolas
         Nava v. Knight Transportation d/b/a Knight Transportation Texas, Inc.
         and Dollar Tree Stores, Inc., in the 120th Judicial District Court of El Paso
         County, Texas (the “State Court Action”). Exhibit A

      B. Docket Sheet for the State Court Action. Exhibit B

      C. Plaintiff’s Original Petition filed on August 31, 2021, in the State Court
         Action. Exhibit C

      D. Requests for Citations of Service dated on or around September 13, 2021,
         in the State Court Action. Exhibit D

      E. Defendant Knight Transportation Inc.’s Motion to Transfer Venue, and
         Subject Thereto, Original Answer and Affirmative Defenses, in the State
         Court Action. Exhibit E

      F. Certificate of Interested Persons. Exhibit F

      G. Notice of Filing Removal in State Court. Exhibit G




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                                      Prayer

      WHEREFORE, Defendant, pursuant to the statutes cited herein and in

conformity with the requirements set forth in 28 U.S.C. § 1446, removes this action

from the 120th Judicial District Court of El Paso County, Texas to this Court.

                                            Respectfully submitted,

                                            By: __/s/ Karl Seelbach____
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                                            ATTORNEYS   FOR   DEFENDANT
                                            KNIGHT TRANSPORTATION, INC.




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                         CERTIFICATE OF SERVICE

       By my signature above, I hereby certify that a true and correct copy of the
above and foregoing document has been served by electronic delivery to counsel
identified below on this, the 2nd day of November 2021.

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